Case 2:04-cr-20382-.]DB Document 40 Filed 07/01/05 Page 1 of 2 PagelD 48

 

IN THE uNlTED sTATEs DrsTnlcT oounT mm _.......oa
Foa THE wEsTEnN DisTnlcT oF TENNEssEE
wEsTEaN DlvlsioN 95~!1 ~ AH 7# 57
U'OVAS M GOULD
uNlTED sTATEs oF AMEnch G%%SF Tlll`iLSTltCT

P|aintiff

VS.
CF{. NO. 04-20382-B

LEWELLYN N|UHAMMAD

Defendant.

 

OFIDER ON CONT|NUANCE AND SPEC|FY|NG PERlOD OF EXCLUDABLE DELAY
AND SET|'|NG

 

This cause came on for a suppression hearing and report date on June 23, 2005.
At that time, counsel for the defendant requested a continuance ot the July 5, 2005 trial
date in order to allow for additional preparation in the case.

The Court granted the request and reset the trial date to OCtober 3, 2005 with a
re ort date of Monda Se tember 26 2005 at 9:30 a.m., in Courtroom 1. 11th F|oor

 

of the Federa| Building, Memphis, TN.

The period from July 15, 2005 through October 14, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

|T |S SO ORDERED this §I;Ad' =. June, 2005.

A/M

IEL BFtEEN
D STATES D|STR|CT JUDGE

 
   
 

This clocL ment entered on the docket sheet in compliance
with R.l|e 55 and/or 32!bl FHCrP on '

C/O

   
 

UNITED sTATE D"lle COUR - WESTRNE D's'TRCT 0 TESSEE

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 40 in
case 2:04-CR-20382 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

 

Javier M. Bailey

WALTER BAILEY & ASSOCIATES
100 North Main St.

Ste. 3002

Memphis7 TN 38103

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

